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UNITED STATES DISTRICT COURT
SOUTHERN DISTRIST OF FLORIDA

CASE NO.: 06-60146-CIV-TORRES
CHRISTOPHER PEER,
Plaintiff/Counter-Defendant,

VS.

DANIEL WARFIELD LEWIS,
Defendant/Counter-Plaintiff.

/

RICHARD L. ROSENBAUM, ESQ. AND
LAW OFFICES OF RICHARD L. ROSENBAUM ESQ.’S
RESPONSE IN OPPOSITION TO DEFENDANT
DANIEL WARFIELD LEWIS’ MOTION FOR SANCTIONS

COMES NOW Richard L. Rosenbaum, Esq. and the Law Offices of
Richard Rosenbaum, Esq. (hereinafter collectively referred to as “Rosenbaum’” or
“Former Counsel for the Plaintiff’), and respectfully responds in opposition to
Defendant, Daniel Warfield Lewis’ Motion for Sanctions against Plaintiff's Former
Counsel, Richard L. Rosenbaum, Esq. and the Law Offices of Richard
Rosenbaum, Esq., pursuant to Title 28 U.S.C. § 1927, and the court’s inherent
powers (DE 151) and the accompanying Memorandum of Law (DE 153) and
states as follows:

A. The Facts Missing from Lewis’ Motion for Sanctions

The following events set forth the correct factual progression of this case

and Rosenbaum’s participation in the litigation as Peer’s initial counsel.
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1. On January 17, 2006, Daniel Warfield Lewis’ filed an Emergency
Complaint for Declaratory Judgment Concerning Candidate Ineligibility,
attacking Peer’s compliance with the City of Fort Lauderdale residency
requirement. A copy is attached as Exhibit A and incorporated herein
verbatim. Specifically, in paragraph 19 the Emergency Complaint stated: '
“What is more, an October 15, 2005, credit report by TransUnion, one
of the three major credit bureaus, reported that the Defendant’s
current address is ‘18 Charter Drive, Wilmington, North Carolina
28403.’”? [Emphasis added.]

2. On January 31, 2006, Richard L. Rosenbaum, Esquire, of the Law Offices
of Richard L. Rosenbaum, Esquire, filed a limited Notice of Appearance on
behalf of Christopher Peer (hereinafter referred to as “Peer”) in the state
court proceedings wherein Lewis sought to remove Peer as a mayoral
candidate in the City of Fort Lauderdale 2006 elections. Lewis v. Peer,

Broward County case number 06-599(21) [Burnstein].

"In Defendant Lewis’ Motion for Sanctions, he omits a crucial portion of the
allegation set forth in Lewis’ Emergency Complaint. His specific representation
that his knowledge of Peer’s residence stemmed from a TransUnion Credit
Report, was part of the good faith basis for filing of the Federal Complaint.
Further, Lewis used the stellar reputation of TransUnion, “one of the three (3)
major credit bureaus” to lend legitimacy to Lewis’ claims that he had obtained
Peer’s confidential credit information.

* Nowhere in Lewis’ Motion does he quote the entire sentence contained in
Paragraph 19 of his “Emergency Complaint.” Instead, he attempts to mislead the
court into believing that the issue of whether Lewis actually obtained Peer’s credit
report was dispositive of the suit. It is not.
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3. Rosenbaum filed a Motion to Dismiss Lewis’ Emergency Complaint Based
Upon The Plaintiff's Failure to Properly Effectuate Service of Process.

The Motion was granted after a hearing conducted on February 1, 2006.

4. Following a hotly contested State court hearing, Rosenbaum, Lewis’ State
counsel, Robert Malove, and Malove’s law clerk had a heated discussion
in the hallway of the courthouse. There were several witnesses. Malove’s
law clerk was a part of the conversation and stated that the information in
paragraph 19 was obtained from LEXIS/NEXIS or Westlaw. At the time
neither Peer nor Rosenbaum were advised by anyone of “Westlaw People
Finder Historic Tracker Record” as the purported source of information
Peer’s credit report was obtained from.

5. Based upon Lewis’ representation in paragraph 19 of his Emergency
Complaint and Lewis’ statements to various members of the media,
Rosenbaum thereafter drafted a Federal Complaint predicated upon a
violation of the Fair Credit Reporting Act, contained in Title 15, U.S.C.
Section 1681, et. seg., hereinafter referred to as the “FCRA.”

6. Lewis has sought Rule 11 sanctions against each of the lawyers who
succeeded Rosenbaum in representing Peer as well as Peer himself. On
October 10, 2006, Defendant Lewis filed a Rule 11 Sanction Motion
against Roderman and Greenbaum (DE 118); Roderman responded in

opposition (DE 121);> Greenbaum similarly filed a Response in Opposition

*Roderman and Greenbaum’s counsel’s arguments in opposition to Lewis’ Motion
for Sanctions are respectively adopted as if set forth more fully herein verbatim
(DE 121; 126).
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(DE 126). Peer has not yet responded individually, and appears to be
proceeding pro se at this juncture. The sanction matters are pending
before this Honorable Court.

Neither Rosenbaum nor Peer (while Rosenbaum was his counsel) ever
received any pleading, notice, or correspondence that retracted the factual
representation concerning information alleged to be contained on Peer’s
TransUnion credit report in paragraph 19 of the Emergency Complaint.
Subsequently, Robert Malove filed an Amended Emergency Complaint in
state court in another attempt to remove Peer from the mayoral ballot.
Rather than correcting the information in paragraph 19 and/or explaining
how the TransUnion credit information was obtained, Lewis simply deleted
the entire paragraph from the Emergency Complaint.

On February 7, 2006 after Daniel Lewis amended his Emergency
Complaint and deleted any reference to the source of the address he
obtained from Peer's credit report, a hearing was conducted in State court
on Peer's Motion to Dismiss for Failure to Join An Indispensable Party,
(the Supervisor of Elections), and Peer's Motion to Dismiss or,
Alternatively, Motion to Abate Proceedings. Peer’s Motion to Dismiss was
granted and Lewis’ Emergency Complaint and Amended Complaint were
again dismissed. No further action occurred in the State “election case.”
In early February 2007, a process server was employed by Richard L.
Rosenbaum and Peer to effectuate service of process of the instant FCRA

Complaint upon Defendant Lewis.
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Defendant Lewis claims that the service of process in this case as
warranting sanctions. He is, simply put: grossly incorrect. To the
contrary, when the process server went to Daniel Lewis’ residence to
serve him on February 3, 2006, substitute service was effectuated on an
individual residing in the Lewis home who represented herself to reside on
the premises and to be of proper age (DE 3).

In anticipation of Daniel Lewis’ attempts to quash service, in an
abundance of caution, the process server* subsequently obtained actual
personal service on Defendant Lewis (DE 6). Both Returns of Service
were filed with the court (D.E. 3 and 6).

Defendant Lewis never contested service of process of the Federal
complaint. Apparently, he and his counsel either acknowledged that
substitute service was effectuated or agreed that subsequent personal
service satisfied the law and properly effectuated service.

On February 14, 2006, the Fort Lauderdale mayoral election was
conducted as scheduled. Incumbent Mayor Jim Naugle received 6,622
votes; Dan Lewis received less than half, 3,173 votes; and Christopher
James Peer received 473 votes. See Broward County Supervisor of

Elections website at http:/Awww.browardsoe.org/ERSummary.aspx?eid=3.

“The process server in this case was a licensed private investigator who was not
a certified Elisor to effectuate valid service of State Court Summons. While an
Elisor is permitted to effectuate service of process of summons in State court,
one need not be an Elisor to serve a Summons and Complaint or service a
Subpoena Deposition or other process of the Federal court. Any individual over
the age of 21 years of age, who is not an interested party, may effectuate service
of process in Federal Court.
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On the same date as the election, Richard L. Rosenbaum had abdominal
surgery and as a result of complications, was hospitalized into the
following month in a local hospital in Broward County as a result of
gastrointestinal complications.

Rosenbaum and Peer relied upon Robert Malove, Esquire, who was
Lewis’ attorney in the State court filing, and Lewis’ own representation in
the initial Emergency Complaint that the credit information had, in fact,
been obtained from TransUnion, as well as Lewis’ comments to the media
that he obtained the “TransUnion information.” See Article attached as
Exhibit B.

A review of Peer’s credit reports left open and completely intact the
reasonable and bona fide belief that, as expressly represented by Lewis
in his Emergency Complaint, and pursuant to subsequent statements
made by Lewis to the media, credit information (Peer’s prior residence),
had been obtained from TransUnion and published by Lewis in his
Emergency Complaint in an attempt to win an election by keeping a
qualified colleague off the ballot.

Based upon Malove and Lewis’ representations in the Emergency
Complaint before the Circuit Court of the Seventeenth Judicial Circuit,
made in open court which carried the authority of a verified pleading, Peer
and Rosenbaum reasonably believed that Lewis or an agent on his behalf
had nefariously obtained access to Peer’s credit information. See Rule

1.030, Fla. R. Civ. P. This was bolstered by statements Lewis made to the
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media resulting in a February 2, 2006 article which appeared in the Sun
Sentinel. It was reported that “Lewis said he had never seen the credit
report and was told about it by someone he refused to identify.”°

19. Contrary to Defendant Lewis’ assertions, the credit report itself did not
dispel Malove and Lewis’ representation in the Emergency Complaint.
Certainly, there was evidence which was considered by initial counsel and
Peer that the report did not show “obtained by Dan Lewis” in the place
indicating lawful requests for information. However, the credit report itself
was not dispositive of the issue, especially in light of Lewis’ direct factual
assertion in paragraph 19 of the Emergency Complaint combined with the
ease in obtaining third party credit information via the Internet or through
the use of a computer. Plus, Peer’s credit report had recently been
obtained by Direct TV in a time period when Lewis admitted it had been
obtained from TransUnion, and it is not uncommon for private
investigators or others to get access to such reports from third parties who
have lawfully or unlawfully obtained the credit information.

20. Further, Lewis’ comments to the media, refusing to identify “who slipped
him the information,” verified legitimate concerns as to Lewis’ violation of
the FCRA.

21. Richard L. Rosenbaum remained hospitalized from February 14, 2006

through March 7, 2006.

° Interestingly, if Peer, Lewis, Malove, and Rosenbaum had the conversation
which has been alleged in Lewis and Malove’s Affidavits in this case, why would
Lewis refuse to disclose the source of the credit information conveyed to him?
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While it is true that not a great deal of pretrial preparation was completed
in March and April 2006, Rosenbaum was in the midst of multiple
abdominal surgeries and removal of organs, and was unable to work ona
full time basis. However, no deadlines were missed by the Plaintiff and
any alleged “delay” complained of by defense counsel is untrue or
manufactured.

In May, Rosenbaum initiated some initial discovery via a Request for
Admissions and filed an Offer of Compliance with Mandatory Disclosure
imposed by this Honorable Court.

Peer knew as early as June 1, 2006, that based upon Rosenbaum’s
medical condition , Rosenbaum intended to withdraw as counsel.

On June 13, 2006, attorney O’Loughlin first entered her Notice of
Appearance. Six (6) days later, Rosenbaum filed his Motion to Withdraw,
which was granted two (2) days later.

Before Richard L. Rosenbaum withdrew, opposing counsel sent a letter
suggesting two (2) weeks in June in which counsel desired to depose
Peer and Rosenbaum. Rosenbaum objected to his deposition being taken
as he was counsel, not a witness in these proceedings.® Further, Peer
was living and working full time in Ocala, Florida by that time and advised
that he could not be in South Florida during the two (2) week period

suggested by Lewis’ counsel during the times Rosenbaum was also

* Rosenbaum has no knowledge of the allegations that Defendant Lewis was
threatened by Mayor Naugle or what actions Peer took in his quest to become
Mayor of Fort Lauderdale. Rosenbaum acted only as counsel in the campaign
proceedings and filed thereafter a bona fide claim for violation of the FCRA.
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available. Rosenbaum was still undergoing abdominal procedures and
was waiting to coordinate appointments with doctors at Mayo Clinic in
Rochester, Minnesota.

27. A Good Faith Basis Exists for Peer’s FCRA Claim: Despite Lewis’
protestations to the contrary in paragraphs 20-54 of this Motion, a good
faith factual basis existed for Peer’s FCRA claim. There were bona fide
facts at issue and based upon the Court’s resolution of the facts and
application of the law, Rosenbaum, as well as successor counsel,
Roderman and Greenbaum all believed Peer lodged a meritorious claim.
None of successor counsel ever acknowledged Lewis’ conspiracy claim
that Naugle, Rosenbaum, Malkus, and/or Peer were involved in a
conspiracy to assist Mayor Naugle in the 2006 election.

28. Defendant, Lewis, complains in J 74-75 of the Motion for Sanctions that
Rosenbaum “only” filed a Request for Admissions and did not seek to
depose Lewis before moving to withdraw. At that juncture, the discovery
cut off was still a sufficient time in the future. There was ample time to
conduct discovery.

29. Prior to moving to withdraw from representing Peer, Rosenbaum spoke
telephonically with opposing counsel (O’Loughlin) and advised that he was
at Mayo Clinic in Rochester, Minnesota undergoing various procedures
and would be moving to withdraw from this case.

30. While at Mayo Clinic, Rosenbaum asked a colleague, Stephen Zukoff,

Esquire, to contact O’Loughlin and to file a Motion to Withdraw on
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Rosenbaum’s behalf. Defendant Lewis makes much ado over the fact
that in moving to withdraw, Rosenbaum asked for 45 days for Peer to
obtain new counsel and proceed. He fails to mention that the Motion to
Withdraw was granted in part and denied in part. Rosenbaum was
permitted to withdraw but Peer was not given the 45 days requested to
obtain new counsel and respond to outstanding discovery requests. Peer
nevertheless obtained subsequent counsel on two (2) separate occasions.
Upon information and belief, each lawyer involved followed what
Rosenbaum had put forth, believing also that they were acting in good
faith in pursuing Peer’s claim.

Rosenbaum believed at the time that the order was entered allowing his
withdrawal applied to the instant case and the countersuit. Later, in an
abundance of caution, and based upon confusion with regards to counsel
and pro se parties, Richard L. Rosenbaum again moved to formally
withdraw from the countersuit, and the same was granted.

A few weeks after entry of the Order granting the Motion to Withdraw as
counsel, O'Loughlin contacted Rosenbaum in an attempt to resolve the
litigation via a Motion for Rule 11 Sanctions. Rosenbaum informed
Opposing counsel that he had been relieved of all responsibilities with
regard to the case and no longer represented Peer. Rosenbaum could not
bind Peer. Peer was in the process of obtaining new counsel.
Rosenbaum was not in a position to seek “safe harbor” even if that was

the proper course: which it was not. The case proceeded to be

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prosecuted by Barry Roderman’s office and subsequently by Scott
Greenbaum, Esquire.

Rosenbaum heard nothing further until approximately one (1) year later
when Defendant Lewis personally appeared in his reception area and
dropped off the Motion and Memorandum.’

Following Rosenbaum’s representation of Peer, other attorneys believed
that Peer’s claim was meritorious and filed in good faith. The Law Offices
of Barry Roderman entered its Notice of Appearance on behalf of
Christopher Peer. Barry G. Roderman likewise filed his Notice of
Appearance on July 20, 2006 (DE 25). Scott M. Greenbaum filed his
appearance the following day. Heather Anders, Esq.’s Notice of
Appearance was filed on August 16, 2006 (DE 53). Each attorney opined
as to the bona fides of the FCRA Complaint and proceeded to prosecute
Peer’s claim and defend Lewis’ countersuit.

An analysis of subsequent proceedings indicates that Lewis has filed
similar Motions for Sanctions against successor counsel based on the
same basic theory: that no good faith basis existed for Peer’s federal suit.

To the contrary,° if Defendant Lewis obtained what he represented in his

’ Interestingly, Lewis contests aspects of service, yet despite his position as an
interested party, wanted to personally serve Richard L. Rosenbaum in his
reception area in front of clients and colleagues.

* Unfortunately, Peer’s pleadings have been stricken and his case has “fallen
apart” as a result of Greenbaum's alleged failure to respond to court orders;
failure to respond to Peer’s calls and emails; and his failure to pursue
Christopher Peer’s claim or prepare a defense to Defendant, Lewis’ baseless
lawsuit claiming a conspiracy between Mayor Naugle, Rosenbaum, Peer, and
Malkus to ensure Daniel Lewis did not defeat the incumbent, Mayor Naugle. The

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State court pleading, he violated the FCRA. Among other remedies, Peer
sought the statutory amount of $1000 plus reasonable attorney fees and
costs.

36. From the outset, Plaintiff Peer believed that his claims of a Fair Credit
Reporting Act violation contrary to Title 15 U.S.C.§ 1681 were simple.
Relying on Defendant Lewis’ representations in his state court Emergency
Complaint, and his subsequent quotes and comments in the media, Peer
had a good faith basis to believe that the FCRA had been violated and that
Peer was the victim. Further, the violation was for political purposes,
which Peer and Rosenbaum believed could be the basis under the correct
circumstances for an award of punitive damages.

A. No Sanctions Are Warranted Against Rosenbaum
Despite Lewis’ protestations to the contrary, Rosenbaum violated no rule

of procedure or ethical cannon by representing his client, Christopher Peer in a

simple FCRA suit. As a result of the following reasons, Lewis’ Motion should be

denied.
Despite Defendant Lewis’ contentions, Rosenbaum did not engage in
conduct which “multiplied the proceedings” or was “unreasonable and vexatious.”

Clearly and importantly, the power of the court to impose excess costs personally

on attorneys should be exercised only in instances of serious and studied

disregard for orderly processes of justice [emphasis added]. Kiefel v Las Vegas

Mayor has not been the subject of discovery by Lewis, and Rosenbaum has
never discussed this case with Naugle. Simply put: no conspiracy ever existed,
no proof of a conspiracy was ever put forward, and the same is only imagined by
Lewis.

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Hacienda, Inc. 404 F2d 1163 (7th Cir. 1968 ), cert. denied 395 U.S. 908, 23

L.Ed.2d 221, 89 S.Ct. 1750, rehearing denied, 395 U.S. 987, 23 L.Ed.2d, 89
S.Ct. 2128, [imposition of sanctions, under Title 28 U.S.C. Section 1987, is highly
unusual and requires a clear showing of bad faith.] West Virginia v. Chas Pfizer
& Co., 440 F.2d 1079 (2d Cir. 1971), cert. denied, 404 U.S. 871, 30 L.Ed.2d 115,
95 S.Ct. 81 (1971). There must be a finding of willful bad faith on the part of the
offending attorney before attorneys’ fees and costs may be taxed under Title 28
U.S.C. Section 1927. Baker Industries, Inc. v. Cerberus Ltd., 764 F.2d 204 (3d
Cir. 1985).

Defendant Lewis has sought sanctions against Rosenbaum pursuant to
“Title 28 U.S.C. Section 1927” and “the court’s inherent power.” Before the court
may assess fees under Title 28 U.S.C. Section 1927, an attorney must
intentionally file or prosecute a claim that lacks plausible legal or factual basis.
Indianapolis Colts v. Baltimore, 775 F.2d 177 (7" Cir. 1985). The statute is
inapplicable in absence of evidence of bad faith. Hilmon Co. v. Hyatt Int'l, S.A.
138 F.R.D. 66, 20 F.R. Serv. 3d 1022 (1991 D.C. VI).

Sub judice, based upon Lewis’ specific language in paragraph 19 of his
Emergency Complaint and his subsequent quotes in the media, Rosenbaum and
Peer believed, in good faith, that a Fair Credit Reporting Act violation had
occurred. Accordingly, Peer filed the instant Federal complaint, and while
Rosenbaum was counsel of Record, the Plaintiff was in compliance with all court

orders and was in the process of moving the case towards trial. Both

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Rosenbaum and Peer believed Peer had a good faith claim, and Rosenbaum
was retained to pursue the action on Peer’s behalf.

In an analogous case, Jerolds v. City of Orlando, 194 F.Supp. 2d 1305
(M.D. Fla. 2001), the court held that although firefighters’ counsel continued to
pursue civil rights claims against city even though claims lacked merit, there was
no evidence of bad faith on part of counsel that would subject them to attorney’s
fees under the statute. In this case, there has never been any showing that
Peer’s claim lacked merit. The claim was not the subject of a Motion to Dismiss
or a Motion for Summary Judgment on the merits.

In a recent case concerning sanctions under Title 28 U.S.C. Section 1927,
in Amlong & Amlong v. Denny's Inc, ___ F.3d __ (11" Cir. 2007) [11"" Cir. No.
04-14499); and Amlong & Amlong v. Denny's Inc., 457 F.3f 1180 (11 Cir. 2006),
the court stated:

As a panel of this Court observed in Peterson v. BMI! Refractories, 124

F.3d 1386 (11" Cir. 1997). The plain language of the statute imposes

three essential requirements for an award of sanctions under Section

1927: First, the attorney must engage in ‘unreasonable and vexatious’

conduct. Second, that ‘unreasonable and vexatious" conduct must be

conduct that "multiplies the proceedings.’ Finally, the dollar amount of the
sanction must bear a financial nexus to the excess proceedings, i.e., the
sanction may not exceed the ‘costs, expenses, and attorneys’ fees
reasonably incurred because of such conduct.’

Id. at 1396.

The Eleventh Circuit further stated:

We have consistently held that an attorney multiplies proceedings

‘unreasonably and vexatiously’ within the meaning of the statute only

when the attorney's conduct is so egregious that it is ‘tantamount to bad

faith.’ Avirgan v. Hull, 932 F.2d 1572, 1582 (11" Cir. 1991), see also

Schwartz v. Millon Air, Inc., 341 F.3d 1220, 1225 (11" Cir. 2003)(bad faith
is the touchstone).

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Id. at 1190 (ck pg #).

As set forth in case law interpreting Section 1927, it is clear that negligent
conduct, standing alone, will not support a finding of bad faith under Section
1927. An attorney's conduct will not warrant sanctions if it simply fails to meet
the standard of conduct expected from a reasonable attorney. In fact, in order to
craft sanctions against Rosenbaum, Lewis and counsel would have to show that
it was bad faith on Rosenbaum to believe the very people who seek sanctions
predicated upon their own previous statements.

Thus, in Schwartz, the Eleventh Circuit wrote:

Section 1927 ‘is not a catch-all’ provision for sanctioning
objectionable conduct by counsel. . . . For sanctions under Section
1927 to be appropriate, something more than a lack of merit is
required. The statute was designed to sanction attorneys who
‘willfully abuse the judicial process by conduct tantamount to bad
faith.’ ‘Bad faith’ is the touchstone. Section 1927 is not about mere
negligence. A determination of bad faith is warranted where an
attorney knowingly or recklessly pursues a frivolous claim or

engages in litigation tactics that needlessly obstruct the litigation of
non-frivolous claims.

Schwartz, 341 F.3d at 1225.
Thus, an attorney's conduct must be particularly egregious to warrant the
imposition of sanctions -- the attorney must knowingly or recklessly pursue a
frivolous claim or needlessly obstruct the litigation of a non-frivolous claim. If the

attorney's misconduct meets this high standard, the district court may order the

attorney to pay the "costs, expenses, and attorneys' fees reasonably incurred"
because of the attorney's misconduct -- that is, the excess costs that the

attorney's multiplication of proceedings has added to the cost of the litigation.

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See Title 28 U.S.C. 1927; Peterson v. BMI Refractories, 124 F.3d 1386, 1396
(11° Cir. 1997)(explaining that sanctions under Section 1927 "must bear a
financial nexus to the excess proceedings"). No sanctions are warranted at bar.

Interestingly, Lewis’ Motion was not filed “as soon as practicable,” despite
the fact that a motion for sanctions should be filed as soon as practicable after
discovery of a sanctionable violation. Northlake Mktg. & Supply, Inc. v.
Glaverbel, S.A. 194 F.R.D. 633, 48 F.R. Serv. 3d 1186 (2000 N.D. Ill.). Here,
Defendant Lewis claims Rosenbaum should be sanctioned for filing a baseless
lawsuit. While the merits are being contested, what is clear is that Lewis waited
until Rosenbaum had withdrawn from Peer’s case for approximately a year
before filing his frivolous Motion for Sanctions.

The "central purpose of Rule 11 is to deter baseless filings in district court
and thus . . . streamline the administration and procedure of the federal courts."

Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 393, 110 S.Ct. 2447, 110 L.Ed.2d

359 (1990). Since the 1993 amendments, the language of Rule 11 indicates that
the imposition of sanctions is left to the sound discretion of the district court

judge. See Rafferty v. Nynex Corp., 314 U.S. App. D.C. 1, 60 F.3d 844, 852

(D.C. Cir. 1995); Fed.R.Civ.P. 11(c)(noting that when the rule has been violated,

a court may impose an appropriate sanction); see also 5A Charles Alan Wright &
Arthur R. Miller, Federal Practice and Procedure § 1336 (2d Ed. Supp. 2000)
(commenting that the scope of the Advisory Committee's list of factors to
consider when deciding whether or not to impose a sanction suggests that "the

district court is given the widest possible latitude under the new" version of Rule

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11). As possible sanctions pursuant to Rule 11, the court has an arsenal of
options at its disposal, "such as striking the offending paper.° issuing an
admonition, reprimand, or censure; requiring participation in seminars or other
educational programs; ordering a fine payable to the court; [or] referring the
matter to disciplinary authorities." See Fed.R.Civ.P 11 advisory committee's note
(1993).

B. Rosenbaum did not violate Rule 11, Fed. R. Civ. P. and his

actions of counsel filing a “simple” FCRA complaint did not

violate Title 28 U.S.C. Section 1927 Or Warrant Sanctions
Under The Court’s Inherent Power.

The purpose of Section 1927 is to allow the Court "to assess attorney's
fees against an attorney who frustrates the progress of judicial proceedings.”
United States v. Wallace, 296 U.S. App. D.C. 93, 964 F.2d 1214, 1218 (D.C. Cir.
1992). Before imposing sanctions on an attorney, the court must evaluate
whether the attorney's conduct was "at least reckless." /d. at 1217. "Unintended,
inadvertent, and negligent acts, however will not support an imposition of
sanctions under Section 1927." /d. at 1219 (quoting Cruz v. Savage, 896 F.2d
626, 631 (1st Cir. 1990)). Rosenbaum did nothing of the sort: he simply
zealously represented an individual who ran for mayor based upon an express
representation made in an Emergency pleading filed with the court, confirmed by
Lewis’ subsequent statements to the media and lack of recantation of the

violations.

*° Which has already been done here, but not because the suit was “offending,”
only because Peer was not properly represented by subsequent counsel and his
affirmative claims were stricken as a result of Greenbaum’s malfeasance and/or
non-compliance with court orders.

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For an action to be considered “reckless misconduct,” there must be a
“conscious choice of a course of action, either with knowledge of the serious
danger to others involved in it or with knowledge of facts which would disclose
this danger to any reasonable man." /d. at 1220 (quoting Restatement (Second)
of Torts § 500 Cmt. G. (1964)). A showing by the moving party that the counsel
in question acted recklessly or deliberately "in the face of a known risk" is
required. Healey v. Labgold, 231 F. Supp. 2d 64, 68 (D.D.C. 2002) (citing
Wallace, 964 F.2d at 1219).

C. Title 28 U.S.C. Section 1927 Must Be Strictly Construed, Thus

Prohibiting An Award Of Sanctions Against Richard L.
Rosenbaum or the Law Firm of Richard L. Rosenbaum

A variety of courts have noted that "the power to assess costs against an

attorney under § 1927 . . . is a power that must strictly be construed and utilized

only in instances evidencing a serious and standard disregard for the orderly

process of justice." Dreiling v. Peugeot Motors of Am., Inc., 768 F.2d 1159, 1165

(10th Cir. 1985) (quoting Keitel v. Las Vegas Hacienda, Inc., 404 F.2d 1163,
1167 (7th Cir. 1968)[Emphasis added] and citing United States v. Ross, 535 F.2d
346, 349 (6th Cir. 1976)).

D. The Court Should Not Exercise Its Inherent Powers Under The
Facts And Circumstances Of This Case.

When the Federal Rules of Civil Procedure do not provide courts with
sufficient authority to protect the integrity of the judicial system and prevent
abuses of the judicial process, courts have the inherent power to impose
sanctions for abusive litigation practices undertaken in bad faith. See Shepherd,

62 F.3d at 1472; Young v. Office of the U.S. Senate Sergeant at Arms, 217

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F.R.D. 61, 65 (D.D.C. 2003). "These powers are governed not by rule or

statute but by the control necessarily vested in courts to manage their own affairs
so as to achieve the orderly and expeditious disposition of cases." Chambers v.
NASCO, Inc., 501 U.S. 32, 43, 111 S.Ct. 2123, 115 L.Ed.2d 27 (1991) (quoting
Link v. Wabash R.R. Co., 370 U.S. 626, 630-31, 82 S.Ct. 1386, 8 L.Ed.2d 734

(1962)). However, "because of their very potency, inherent powers must be

exercised with restraint and discretion." /d. at 44, 111 S.Ct. 2123 (citing

Roadway Express, Inc. v. Piper, 447 U.S. 752, 764, 100 S.Ct. 2455, 65 L.Ed.2d
488 (1980)).

As set forth in Cordoba v. Dillard's, Inc., 419 F.3d 1169 ( 11th Cir.
2005), see generally Chambers v. NASCO, Inc., 501 U.S. 32, 111
S.Ct. 2123, 115 L.Ed.2d 27 (1991)(holding that district courts retain
the "inherent power" to impose sanctions, including attorney's fees,
where a litigant has engaged in bad-faith conduct). In Byrne v.
Nezhat, 261 F.3d 1075 (11th Cir. 2001), we stated that a court must
be ‘cautious in exerting its inherent power and that, ‘because the
court's inherent power is so potent, it should be exercised ‘with
restraint and discretion.” Id at 1106. [Emphasis Added], (quoting
Chambers, 501 U.S. at 50, 111 S. Ct. at 2132). In Bye, counsel
"filed a frivolous lawsuit, in bad faith, for the purpose of extorting a
settlement,” and, moreover, "abused the judicial process" by
becoming a "willing participant in [his co-counsel's] continuing
vendetta against the [defendants]." 261 F.3d at 1117. As such, we
had no difficulty affirming sanctions against him as a valid exercise
of the district court's inherent power, /d. at 1116, although we did
reverse as to the sanctions entered against the plaintiff herself, /d.
at 1117-27. The patenily frivolous claims and extreme conduct
involved in Byrne exemplify the sort of claims and conduct that
ordinarily warrant sanctions against counsel. Title 28 U.S.C. §
1927.

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E. Defendant, Lewis’, Allegations that Christopher Peer was "not
a Viable Candidate Seriously Intent About His Pursuit of the
Office of Mayor of the City of Ft. Lauderdale” is Wholly
Irrelevant to this Action

This action was commenced by Peer against Lewis based upon
paragraph 19 of Lewis' Emergency Complaint filed in State Court seeking to
remove Peer as a mayoral candidate in 2006. Defendant Lewis (as Plaintiff in
the State Court case) stated in his pleading'® that “What is more, an October 15,
2005, credit report by TransUnion, one of the three major credit bureaus,
reported that Defendant's current address is ‘18 Charter Drive, Wilmington, North
Carolina 28403.”

Aside from Lewis’ statements in his Emergency Complaint, the question of
whether Peer was a “viable candidate” is of no moment. Peer properly qualified
to run for the office of mayor. There was nothing nefarious about that. The fact
that he received the least number of votes does not make his candidacy a fraud
as suggested by Lewis. Respectfully, the issue raised by Lewis is a non-issue in
this case as to possible sanctions against Rosenbaum, not warranting the
expenditure of judicial labor.

F. Peer Set Forth A Bona Fide Cause of Action

Despite Defendant Lewis' protestations to the contrary, Peer properly
alleged and can establish all of the elements of his claim and receive a $1000

statutory amount plus attorney's fees pursuant to Title 15 U.S.C. Section 1681 if

the allegation in paragraph 19 of Lewis’ Emergency Complaint was true. Peer

"° Defendant Lewis makes much ado over the fact that his Emergency Complaint
was not verified does not provide Lewis and his state counsel with the ability to
make false statements in State court pleadings. See Rule 1.030, Fla. R. Civ. P.

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and Rosenbaum had no reason to doubt the veracity of the statement in
paragraph 19. As long as Peer could prove what Lewis admitted in his
Emergency Complaint and to the media, his case was won.

Rosenbaum asserts that the case of Northrop v. Hoffman of Simsbury,
134 F.3d 41 (2" Cir. 1997) is on point with the instant case. In Northrop the
Second Circuit Court of Appeals reversed and remanded an Order dismissing
Plaintiff's complaint for failure to state a claim under the Fair Credit Reporting Act
("FORA") 15 U.S.C. Section 1681 ef. seg. Unlike Northrop, no 12(b) Motion to
Dismiss was filed by Defendant, Lewis. Lewis simply answered and filed a
countersuit. If Defendant, Lewis believed Peer's FCRA claim was frivolous, he
should have sought dismissal before answering. Rosenbaum suspects that no
Motion to Dismiss was filed as the same would have been frivolous, just as
Lewis’ Motion for Sanctions is. Based upon Lewis' Emergency Complaint and
Lewis’ admissions to the media, a prima facie claim for a violation of the FCRA
was properly alleged.

G. “Media Play" is Not an Issue

Defendant Lewis claims that "media play" before the State court hearing
and Primary was improper (D.E. pg. 12-14, para. 55-68). At no point does
Defendant Lewis distinguish any actual statements alleged to have been made
by Rosenbaum as opposed to comments made by Charles Malkus or taken from
public record. Accordingly, Lewis has failed to establish that Rosenbaum’s
limited comments and acknowledgment that a FCRA suit had been filed fell

outside the lines of the appropriate behavior.

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Peer's political consultant, Malkus, specifically expressed his concerns
about Lewis' potential to engage in identify theft with regards to Peer. Via
Defendant Lewis's allegations that the instant lawsuit was not properly
investigated and was improperly pursued, Defendant Lewis seemingly seeks to
insinuate that after the suit Rosenbaum asked a licensed private investigator
authorized to serve federal court summons to serve Lewis quickly as some
indication that Rosenbaum was engaged in bad faith or being a "bully." Such
was not the case. Once a lawsuit is filed, Rosenbaum typically seeks that it be
served quickly if deemed strategically or tactically advantageous. Rosenbaum
had discussed the suit with Malove, who refused to accept service and avoid
what Lewis apparently claims was an abuse of process. In any event,
Rosenbaum was not a "bully" and did not act in bad faith by serving Lewis — via
both substitute service (which could be contested)'' — as well as personally.

H. Rosenbaum Knew That Peer's Credit Report Had Been
Accessed Recently by Comcast and Knew the Plain Meaning
of Paragraph 19 of the Emergency Complaint and Lewis’
Subsequent Statements to the Media Refusing to Identify the
Individual who Provided Him With Peer’s Credit Report.

Rosenbaum knew that some evidence indicated that Lewis had not been
the individual or company which directly accessed Peer's credit reports a few
months earlier. However, to say that the evidence (the credit report) warranted

dismissal of the claim by Peer would be to wholly ignore the express language

contained in paragraph 19 of Lewis' Emergency Complaint filed in state court

"T Rosenbaum reasonably feared that Lewis would contest service based upon
the fact that Peer initially prevailed in dismissing Lewis' Emergency Complaint
based upon Peer's successful Motion Quash Service.

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and, would require Peer and Rosenbaum to ignore the directly quoted
statements of Lewis concerning his source of the information and his refusal to
release his identity.

I. Lewis' Claim that Rosenbaum Had An “Improper Political

Purposes" in Filing and Maintaining Peer's FCRA Action Is
Incorrect.

Defendant Lewis' claim that Rosenbaum had "improper political purposes"
in filing and maintaining Peer's FCRA action is meritless and frivolous.
Rosenbaum had nothing to do with anyone's mayoral campaign. All Rosenbaum
did was agree to represent Peer — "the guy next door" on the campaign case on
the theory that anyone who qualifies should be able to run. Rosenbaum and
Peer entered into a Retainer Agreement in the Federal FCRA case and
Rosenbaum issued monthly invoices for legal services rendered in connection
therewith.

After reviewing paragraph 19 of Lewis' Emergency Complaint and hearing
media reports that Peer's credit report had been obtained by a third party Lewis
knew yet refused to identify, Rosenbaum believed those facts alone spoke
volumes. Rosenbaum had no improper political purpose — he was merely
serving a client who had a good faith basis to bring suit under the FCRA.

J. Rosenbaum's Rule 11 Notification Letter Was Not Baseless
and Was Not an Improper Threat

Rosenbaum's Rule 11 notification letter to Lewis as a pro se defendant
was meritorious and was not an improper threat. Rather, it provided a correct

statement of the law and the procedures surrounding Rule 11, F.R.Civ.P. The

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letter only went to Lewis' baseless counterclaim where he again asserted some
half-brained "conspiracy theory.”

Rosenbaum's Rule 11 letter and other correspondence with Defendant,
Lewis as a pro se litigant, was entirely proper. Concededly, Rosenbaum did not
follow up with a Rule 11 Motion following service of the notice. However,
Rosenbaum could have filed his Rule 11 Motion at any time against Lewis.
Subsequently, Lewis obtained O'Loughlin's services as counsel and a few days
later Rosenbaum withdrew for Peer based upon medical reasons.

K. Lewis' Ex Parte Contact with the Magistrate Judge

After Lewis delivered correspondence directly to Magistrate Judge Snow
on May 19, 2006, Rosenbaum did indeed write Lewis, a pro se defendant.
Rosenbaum asked Lewis not to engage in direct ex parte contact with the
assigned judge. Contrary to Lewis' Motion for Sanctions against Rosenbaum,
while Southern District of Florida Local Rule 7.7 does apply to pro se litigants,
pro se litigants do not have free access to ex parte opposing counsel.
Rosenbaum informed Lewis of the same and advised that if Defendant Lewis
continued to engage in ex parte communications with the judge on the case Peer
would seek sanctions.

L. Rosenbaum Withdrew As Soon as Necessary

Rosenbaum withdrew on June 21, 2006 (DE 18). He was provided with a
Motion for Sanctions predicated on the court's inherent power and Title 28 U.S.C.

Section 1927 directly from Lewis on July 9, 2007. Rosenbaum admits that Lewis’

" From a review of the Docket, Lewis now seeks to amend his counterclaim in
material respects.

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argument that Rosenbaum withdrew before being served with a Rule 11 Motion
is true, yet it is entirely misleading. Rosenbaum did not withdraw in an effort to
“dodge sanctions.” In actuality, based upon Rosenbaum's medical condition, he
could not guarantee that he could proceed with discovery as was coming up in
the upcoming months. Peer wanted discovery to move forward. Based upon
"irreconcilable differences," which included Peer's inability to pay Rosenbaum's
statement for legal services rendered, and Rosenbaum’s inability to give prompt
personal attention to the case, Rosenbaum withdrew as counsel.

M. Rosenbaum Did Not Abuse the Judicial Process for Improper
Purposes

Despite Lewis’ protestations that "...Rosenbaum should be sanctioned for
maintaining this action for political purposes” (Memo at pg. 3), no evidence
establishes Rosenbaum had any knowledge of or participation in an action for
political purposes when filing Peer's bona fide claims as a result of violation of
the FCRA.

Rosenbaum had nothing to do with the mayoral election other than being
Peer's lawyer when Lewis sought to have Peer removed from the ballot and from
public consideration in State court. Rosenbaum had nothing to do with incidents
Lewis swears occurred "on the campaign trail." Rather, the scope of
Rosenbaum's conduct only included actions in his role as attorney for Peer in the

“campaign case.”

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N. Rosenbaum Did Not Engage in Bad Faith Delay and
Obstruction Tactics

Although Defendant Lewis's claims Rosenbaum engaged in "bad faith
delay and obstruction tactics” (Memo at pg. 16) the same is, simply put: untrue.

Rosenbaum filed the instant case as soon as practicable. Based upon
emergency medical situations, Rosenbaum conducted little discovery — but
contends that little was needed in light of the language contained in Lewis'
Emergency Complaint and his statements to the media.

When Rosenbaum moved to withdraw, in an effort to protect Peer,
Rosenbaum's lawyer requested 45 days for Peer to respond to discovery and
retain counsel. The request was granted in part. The time for Peer to comply
was shortened by the Court.

Rosenbaum did not delay this case in bad faith. Rosenbaum was simply
medically unable to proceed on behalf of his client, and timely withdrew based
upon his health.

CONCLUSION

Peer's suit was grounded in fact and supported by Defendant Lewis's own
statement in his Emergency Complaint that: “What is more, an October 15,
2005, credit report by TransUnion, one of the three major credit bureaus,
reported that the Defendant’s current address is ‘18 Charter Drive,
Wilmington, North Carolina 28403.’”

No proper basis has been made for Lewis' claim as to sanctions. Lewis'

repeated requests for sanctions should be denied as to Rosenbaum, who

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initiated this Federal suit in good faith based upon facts contained in Lewis’
Emergency Complaint and his statements to the media.

The apparent grounds for the sanction motion appears to be that
Rosenbaum should not have believed Defendant's statements and by
believing the Defendant the Defendant has the right to seek sanctions
against Rosenbaum. Accordingly, the Motion for Sanctions as to Richard L.

Rosenbaum and the Law Offices of Richard L. Rosenbaum should be denied.

| hereby certify that on October 15, 2007, | electronically filed the
foregoing document with the Clerk of the Court using CM/ECF. | also certify that
the foregoing document is being served this day on all counsel of record via
transmission of Notices of Electronic Filing generated by CM/ECF and via U.S.
Mail to Scott Greenbaum, Esq., Counsel for Plaintiff, 200 SE 18 Court, Ft.

Laud., FL 33316 (who is not authorized to receive electronic filings.)

PeEpbet Submitted,
“ty 0, Loe
STEPHEN M. ZUKOFFI 8SQ.

Counsel for Richard £. Rosenbaum,
individually and Law Offices of Richard
L. Rosenbaum

19 West Flagler Street, Suite 211

Miami, FL 33130

(305) 374-4331

Fla. Bar No: 0177061

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IN THE CIRCUIT COURT OF THE BF

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JUDICIAL CIRCUIT, IN AND FOR®: te a
BROWARD COUNTY, FLORIDA ae
DAN LEWIS, TE. os S
a. 7
Be! ro
Plaintiff, e a ww
v. CASE NO. 06000599
CHRISTOPHER JAMES PEER
Defendant./
EMERGENCY COMPLAINT FOR DECLARATORY JUDGMENT
. CONCERNING CANDIDATE INELIGIBILITY
1. This is an action for declaratory judgment pursuant to § 86.011, Florida
Statutes.

2.

Plaintiff, Dan Lewis, is a resident, qualified elector and taxpayer in the City
of Fort Lauderdale, Broward County, Florida,

3. ‘The City of Fort Lauderdale (hereinafter “the City”) is a home-rule

municipality established under the Florida Statutes, with the right to establish rules

governing the selection and qualifications of its elected officials through an adopted City
Charter (hereinafter “the Charter”)

4. To ensure the public good and protect the City’s election process from

political abuse, Article If, Section 3.03 of the Charter requires candidates to office to

establish residency in the City of Fort Lauderdale at least “six (6) months immediately
preceding the date of the election

5.

The Charter provides for a March general election in the event only two
candidates qualify as candidates for a City elected office, or for the top two candidates who

receive the most votes in a February primary election. Article VII, Section 7.06
6.

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The Charter provides for a February primary election only in the event that
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three or more candidates qualify for the election. The charter also provides for the election
of any candidate receiving more than fifty percent (50%) of the vote in a primary election.
Article VII, Section 7.05.

7. As applied to the pending March, 2006 municipal general election, a
candidate that is elected must be a resident of the City not less than six (6) months
immediately preceding the March election - or September 14", 2005.

8. The City Charter prescribes four (4) single-member city commission districts
whereby only the voters who reside in each commission district ‘may vote for commission
candidates qualified to run in each particular district. Article VII, Section 7.05.

9. The City Charter provides for the mayor to be elected by all the voters of the
city in a city wide election. Article VII, Section 7.05.

10. Article III, Section 3.03 of the City Charter provides as follows:

Sec. 3.03. Qualification of members; forfeiture of office.

To be eligible to hold the office of mayor-commissioner of the City of Fort
Lauderdale, or to qualify for nomination or election as such, the candidate shall
have resided in the City of Fort Lauderdale for six (6) months immediately
preceding the date of the election, shall continuously reside in the City of Fort
Lauderdale, and shall be a resident of the State of Florida and a citizen of the United
States of America; shall be duly qualified to vote at city, state and national elections;
shall be over the age of twenty-one (21) years; shall be otherwise qualified as in this
charter provided; shall hold no other public elective office; and shall not be an
officer, employee or serving any capacity with the city government, except that a city
commissioner serving may qualify for election to the office of mayor. Candidates for
nomination or election as mayor-commissioner shall comply with all the rules and
regulations set out in the charter as to their conduct. Any candidate for mayor-
commissioner or any mayor-commissioner who shall cease to possess the
qualifications required herein shall forthwith forfeit his office. To be eligible to hold
the office of city commissioner of the City of Fort Lauderdale, or to qualify for
nomination or election as such, the candidate shall have resided in the City of Fort
Lauderdale for six (6) months immediately preceding the date of the election, and
shall reside in the commission district from which he seeks election on the day he
qualifies as a candidate for that office, shall continuously reside in that district and
shall be a resident of the State of Florida, and a citizen of the United States of
America; shall be duly qualified to vote at city, state and national elections; shall be
over the age of twenty-one (21) years; and shall be otherwise qualified as in this
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charter provided; shall hold no other public elective office; and shall not be an
officer, employee or serving in any capacity with the city government, except that a
city commissioner serving may qualify for reelection. Candidates for nomination or
election for the office of city commissioner shall comply with all the rules and
regulations set out in the charter as to their conduct. Any candidate for city
commission or any city commissioner who shall cease to possess the qualifications
required herein shall forthwith forfeit his office or candidacy. [Emphasis added]

(Ord. No. C-86-77, § 2, 9-16-86).

11. Given the unequivocal mandate in the City Charter that “the candidate shall
have resided in the City of Fort Lauderdale for six (6) months immediately preceding the
date of the election”, as stated in Article III, Section 3.03, Plaintiff has a bona fide doubt as
to the rights of the parties, namely whether the Defendant has satisfied the Charter’s
residency requirement to become a legitimate candidate, and to serve, if elected.

12. The City Charter apparently intends that if a candidate is to be elected in a
primary election, then the “date: of election” is presumed to the date of the Primary, or
February 14%, 2006, in which case, the candidate must have “resided” in the City for the six
(6) month period immediately preceding that date, that is August 14" 2005.

13. Likewise, the City Charter apparently intends that if a candidate is to be
elected in a general election, then the “date of election” is taken be the date of the general
election, or March 14", 2006. Thus, according to the Charter, the candidate must have
“resided” in the City for the six (6) month period immediately preceding that date, that is
September 14" 2005.

14. If the term “resided,” as used in Article UI, Section 3.03, was intended by the
Charter’s Drafters to mean “domiciled” or “permanent” residency, as opposed to temporary,
intermittent or sudden occupancy, then appropriate evidence of residency would include, for
example, the filing of a homestead exemption, or the place of residency being accurately

stated on one’s drivers license, or the place of residency being accurately stated on the
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voter's registration, or perhaps even a tax notice to an address within the City at a point in
time preceding the required six (6) month minimum residency period.

15. As of December 15, 2005, the Defendant’s official voter’s registration was in
Ocala, Florida, which is well after the date required to establish residency for purposes of
qualifying for election to City elected office.

16. As of December 15, 2005, the Defendant’s Florida driver’s license listed an
address in Ocala, Florida, which is well after the date required to establish residency for
purposes of qualifying for election to City elected office.

17. The Defendant has never voted as a resident of the City of Fort Lauderdale.
He has voted using his Ocala residential address during the course of election years 2000,
2002 and 2004.

18. A May 2004, the police report, which was prepared as a result of
Defendant’s arrest by the City of Fort Lauderdale Police, also indicates that his official
residence is in Ocala, Florida.

19. What is more, an October 15, 2005, credit report by TransUnion, one of the
three major credit bureaus, reported that Defendant’s current address is “18 Charter Drive,
Wilmington, North Carolina 28403.”

20. As the fact set forth in the preceding paragraphs demonstrate, Plaintiff has a
bona fide doubt as to the Defendant’s lawful eligibility to run against and challenge the
Plaintiff for the post of Mayor in the City of Fort Lauderdale due to the City Charter’s
unequivocal residency requirement and the apparent fact that Defendant will not have
resided in the City of Fort Lauderdale for the six (6) month period immediately preceding
the date of the upcoming March election, but rather resides in Ocala, Florida.

21. The additional cost to the Taxpayers of the City if a primary election is
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required, on the basis of Defendant apparent ineligibility, would exceed $96,850.00.

22. Defendant has received notice of his apparent violation of the Fort
Lauderdale City Charter by registering as a candidate for the office of City Mayor without
satisfying the City Charter’s residence requirement, yet has failed or refused to correct what
appears to be a violation of the City Charter by withdrawing his candidacy or otherwise.

23. Consequently there remains a bona fide doubt as to whether the Defendant
satisfies the requirements of Article III, Section 3.03 of the City Charter.

24.. Plaintiff has a bona fide doubt as to the Defendant’s eligibility to run for
election to’ City Office and has an interest in being required to run solely against eligible
candidates.

25, Plaintiff and Defendant are in controversy as to whether Defendant meets the
City Charter’s minimum residence requirement to register as a legal candidate for this
public office.

26. In light of the notice given Defendant concerning his apparent violation of
the City Charter, coupled with a failure or refusal to withdraw his candidacy, which in tum
has triggered the requirement of costly primary election, Plaintiff respectfully requests a
declaration of the parties’ rights.

27. Due to the City’s necessity for administering a February 2006, primary
election, as well as parties logistical necessity of, among other things, delivering absentee
ballots, hiring poll workers and securing a primary physical campaign facilities — all in the

next seven (7) to ten (10) days, Plaintiff further respectfully request an emergency hearing.
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WHEREFORE, Plaintiff, DAN LEWIS, pray this Court grant his Motion for Emergency
Hearing, and further an enter an Order declaring the Defendant’s, CHRISTOPHER JAMES
PEER’s, candidacy for the post of Mayor-Commissioner of the City of Fort Lauderdale,
unlawful, pursuant to the City Charter’s qualification criteria for establishing residency, as
prescribed in Article III, Section 3.03 of said City Charter, and for such other relief deemed
just and proper.

Respectfully submitted,

THE LAW OFFICE OF
ROBERT DAVID MALOVE, P.A.
1 East Broward Boulevard, Suite 700

Ft. Lauderdale, Florida 33301
(954)745-5840

~ Robert David Malove
Florida Bar No. 407283

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing was delivered to the
Clerk of the Circuit Court and to Christopher James Peer, 1420 Riverland Road, Ft. Lauderdale,

Florida 33312, this 14" day of January, 2006.

oy Cole Drei Vidor.

Robert David Malove

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Hearing delayed

challen |

| STAFF WRITER

_ mayor, having deflected a legal
Challenge to his candidacy, at
least for now. gill at

‘Tight to run for mayor against a

lawsuit filed by opponent Dan.
Lewis. The twoare challenging »
Mayor Jim Naugle in: the. °

- scheduled Feb. 14 primary —

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"ment because Peer was regis-

_ tered to vote under an Ocala _
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' hearing on

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FORT LAUDERALE ¢ Christo-
- pher. Peer is:still running for ..

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wd
Circuit Judge

Miette Burnstein delayed the
the lawsuit
Wednesday because Peer had

- hot been properly served with
~ < the lawsuit paperwork.

Was present at the hearing.

Peer is properly served, Burn-

Peer argues he has lived

Fort Lauderdale for six years.
‘and just didn’t get around until
‘recently to.transferring his vat-
“o's 2: erregistration and driver’s li-
-. Peer, a 35-year-old financial _
consultant, is defending his . Supporting Peer on Wednes-
1 «day was local public relations
- consultant Chuck Malkus, who
Said he met Peer through Ju-

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Florida. Malkus said he called -
ote es cin criminal defense

Lewis’ lawsuit. contends -

-Peer does not meet the city’s.

“six-month residency require- ~

presented Lionel Tate.
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in the race to forcea primary, .

adding that Naugle benefits by

giving challengers less time to.
Campaign. If a candidate gets.
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- March 14 general election, ee
-_ Naugle denied any connec- ~

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Peer.
fs -. Candidate forums and
_- = The case will be heard after

attorney
- Richard Rosenbaum, who re-
_ inhis lawsuit information

BR

-._ “What's his proof?” Naugle _
_ asked, referring to Lewis. He

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charges... .. Is he also blame
me for Hurricane Wilma?” — -

_ Peer has not appeared a

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Until Wednesday, he 7
didn’t want to discuss his views .
on issues and had no plat ’
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a typed statement from his si
pocket. titled “Christoph
Peer’s Platform.” It listed:
top issues as public safety,
ricane preparedness, street.
light . synchronization ang
h erosion. ee as
Rosenbaum and. Malkus &
said they’re pursuing a federal t.
lawsuit against Lewis, claim ng. 4

he broke the law by di

ai

_ address — from Peer’s

? .

‘sentinel.com or 954-356-4541.

EXHIBIT

